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                                                                     7
                                                                                              IN THE UNITED STATES DISTRICT COURT
                                                                     8
                                                                                                   FOR THE DISTRICT OF ARIZONA
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                                                                    10
                                                                         Karen Hardin and Sonia Esposito,             No.
                                                                    11
                                                                                Plaintiffs,
                                                                    12
                                                                    13 vs.
                        A P ROFESSIONAL A SSOCIATION O F L AWYERS
M ONTOYA , L UCERO & P ASTOR




                                                                                                                      COMPLAINT
                          3200 NORTH CENTRAL AVENUE, SUITE 2550




                                                                    14 Maricopa County Community College
                                  PHOENIX, ARIZONA 85012




                                                                    15 District,
                                                                                                                      (Jury Trial Demanded)
                                                                    16
                                                                                 Defendant.
                                                                    17
                                                                    18         For their Complaint against Defendant, Plaintiffs allege the following:
                                                                    19   1.    This is an action seeking to redress discrimination in the public workplace based on
                                                                    20         race, color and retaliation brought by Karen Hardin and Sonia Esposito against the
                                                                    21         Maricopa County Community College District under Title VII of the Civil Rights
                                                                    22         Act of 1964, 42 U.S.C. § 2000e (as amended), the Civil Rights Act of 1866, 42
                                                                    23         U.S.C. § 1981 (as amended), and the Civil Rights Act of 1871, 42 U.S.C. § 1983.
                                                                    24 2.      This Court has subject matter jurisdiction over this action under 28 U.S.C. §§ 1331,
                                                                    25         1343(4) and 42 U.S.C. § 2000e.
                                                                    26 3.      This Court has personal jurisdiction over the parties to this dispute because the
                                                                    27         discriminatory misconduct alleged in this Complaint occurred in Maricopa County,
                                                                    28         Arizona.
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                                                                     1   4.     Venue is proper in this District under 28 U.S.C. § 1391(b) and 42 U.S.C. § 2000e-
                                                                     2          5(f)(3).
                                                                     3   5.     Karen Hardin is an African-American woman.
                                                                     4   6.     Sonia Esposito is a Hispanic-American woman.
                                                                     5 7.       The Maricopa County Community College District (the “District”) is a political
                                                                     6          subdivision of the State of Arizona.
                                                                     7 8.       The District manages and operates approximately ten community colleges and two
                                                                     8          skill centers in Maricopa County, Arizona, including Mesa Community College
                                                                     9          (“the College”) in Mesa, Arizona.
                                                                    10 9.       At all times material to this Complaint, the District has been an “employer”
                                                                    11          continuously engaged in an industry affecting interstate commerce within the
                                                                    12          meaning of Sections 701(b), (g), and (h) of Title VII of the Civil Rights Act of 1964,
                        A P ROFESSIONAL A SSOCIATION O F L AWYERS




                                                                    13          42 U.S.C. §2000e, and has had at least fifteen employees for each working day for at
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                                                                    14          least twenty days during the past calendar year.
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                                                                    15   10.    The District has had over five hundred employees at all times material to this
                                                                    16          Complaint.
                                                                    17   11.    Karen Hardin has a Doctorate in Education and has been an educator in the
                                                                    18          community college system for over three decades.
                                                                    19 12.      During Dr. Hardin’s years of service as an educator, she has never been accused of
                                                                    20          incompetence or misconduct.
                                                                    21 13.      Based on her effort and devotion to her profession as an educator, Dr. Hardin has
                                                                    22          always earned professional praise, and her performance evaluations have always
                                                                    23          been excellent.
                                                                    24 14.      Dr. Hardin applied for an open position to serve on the faculty of the Counseling
                                                                    25          Department at Mesa Community College of the District in January 2021, where Ms.
                                                                    26          Esposito served as the Departmental Chair.
                                                                    27 15.      As the Chair of the Counseling Department, Ms. Esposito participated in the
                                                                    28          Department’s selection process to fill the open position.

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                                                                     1   16.    Dr. Hardin was well qualified for the open position.
                                                                     2   17.    Her application was screened and evaluated by two internal committees at the
                                                                     3          College.
                                                                     4   18.    The last committee consisted of seven members who interviewed and scored the top
                                                                     5          five candidates for the position.
                                                                     6   19.    A Hispanic male and Dr. Hardin received the two highest scores (637 and 635
                                                                     7          respectively) of the candidates applying for the position.
                                                                     8   20.    As the two finalists for the position, the Hispanic male and Dr. Hardin were both
                                                                     9          separately interviewed by two senior vice-presidents at the College, Nora Reyes and
                                                                    10          Carmen Newland.
                                                                    11   21.    After the interview, Ms. Reyes told the Counseling Department Chair of the
                                                                    12          College, Sonia Esposito, to hire the other finalist because she “needed a Hispanic
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                                                                    13          male” in the Department.
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                                                                    14   22.    Ms. Esposito complied with Ms. Reyes’ directive, but the applicant ultimately
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                                                                    15          refused the offer.
                                                                    16   23.    Ms. Esposito then asked the College’s Human Resources officer helping to manage
                                                                    17          the selection process, Vanesa Watson, for guidance on what to do next.
                                                                    18   24.    Ms. Watson instructed Ms. Esposito to offer Dr. Hardin the job, as she was the
                                                                    19          remaining finalist selected by the search committee.
                                                                    20   25.    Ms. Esposito began to comply with Ms. Watson’s directive by completing the
                                                                    21          required paperwork to hire Dr. Hardin.
                                                                    22   26.    However, when Ms. Reyes received the paperwork reflecting Dr. Hardin’s
                                                                    23          impending hire, Reyes unilaterally aborted Dr. Hardin’s hire and told Ms. Esposito
                                                                    24          that she was going to search for a new candidate for the job.
                                                                    25   27.    Ms. Esposito then mentioned to Ms. Reyes that she knew of another person
                                                                    26          interested in the job who was also a Hispanic male.
                                                                    27   28.    Ms. Reyes was happy with this news and instructed Ms. Esposito to reach out to him
                                                                    28          regarding the position, explaining that she could terminate another search to fill the

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                                                                     1          position and unilaterally proceed to hire the man.
                                                                     2 29.      Because it was now obvious to Ms. Esposito that Ms. Reyes was discriminating
                                                                     3          against Dr. Hardin in favor of Hispanic males, Ms. Esposito ignored Ms. Reyes’
                                                                     4          directive and instead complained about Reyes’ conduct to Human Resources.
                                                                     5 30.      In fact, both the College and the District have a practice of routinely using race and
                                                                     6          gender as the determinative factor in faculty hiring decisions.
                                                                     7 31.      The District ultimately took no corrective action in response to Ms. Esposito’s
                                                                     8          complaint and did not hire Dr. Hardin.
                                                                     9 32.      Moreover, after Ms. Esposito complained about racial discrimination in the District,
                                                                    10          the District retaliated against her by refusing to hire anyone to fill the open
                                                                    11          permanent position for a semester.
                                                                    12   33.    The Counseling Department was consequently understaffed and overworked,
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                                                                    13          causing its students to suffer and its faculty morale to decline.
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                                                                    14   34.    The District also retaliated against Ms. Esposito by (for example) refusing to
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                                                                    15          provide the Counseling Department with appropriate space to conduct its work,
                                                                    16          requiring her to simultaneously administer the counseling Department’s instructional
                                                                    17          duties and its student counseling duties without any additional compensation,
                                                                    18          excluding her Department from essential meetings and refusing to allow her to
                                                                    19          transfer to another Department to escape the retaliation at Mesa Community
                                                                    20          College.
                                                                    21 35.      Based on the discriminatory misconduct of the District, Plaintiffs timely filed
                                                                    22          separate Charges of Discrimination against the District with the United States Equal
                                                                    23          Employment Opportunity Commission (“EEOC”). See attached Exhibits A and B.
                                                                    24   36.    Plaintiffs received right to sue letters from the EEOC and timely commenced this
                                                                    25          action within ninety-days of their receipt of those letters. See Exhibits C and D.
                                                                    26   37.    Plaintiffs hereby exercise their right to a trial by a jury of their peers on all of their
                                                                    27          claims against the District.
                                                                    28          Based on the foregoing, Plaintiffs respectfully request the Court to award them the

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                                                                     1   following relief against Defendant:
                                                                     2         A.     Issue a declaratory judgment declaring that Defendant’s conduct violated
                                                                     3                Plaintiffs’ rights under Title VII of the Civil Rights Act of 1964, 42 U.S.C.
                                                                     4                §2000e, the Civil Rights Act of 1866, 42 U.S.C. §1981, and the Civil Rights
                                                                     5                Act of 1871, 42 U.S.C. § 1983.
                                                                     6         B.     Issue a permanent injunction enjoining Defendant from engaging in
                                                                     7                discrimination and retaliation;
                                                                     8         C.     Issue an order requiring Defendant to employ Dr. Hardin as a full-time
                                                                     9                counseling faculty member with all attendant benefits;
                                                                    10         D.     Award Plaintiff Hardin an award of lost wages against Defendant;
                                                                    11         E.     Award Plaintiffs nominal, compensatory and punitive damages against
                                                                    12                Defendant in amounts to be determined at trial; and
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                                                                    13         F.     Award Plaintiffs all other relief that is just, equitable and appropriate under
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                                                                    14                the circumstances, including their costs and attorney fees.
                                  PHOENIX, ARIZONA 85012




                                                                    15                             Respectfully submitted this 10th day of August 2022.
                                                                    16                             MONTOYA, LUCERO & PASTOR, P.A.
                                                                    17
                                                                    18                             ________________________________
                                                                    19                              Stephen Montoya
                                                                                                    3200 North Central Avenue, Suite 2550
                                                                    20                              Phoenix, Arizona 85012
                                                                                                    Attorney for Plaintiff
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                                                                     1   I hereby certify that on August 10, 2022, I electronically transmitted the foregoing
                                                                     2   document to the Clerk of Court using the CM/ECF System for filing.
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